   Case: 1:10-cv-04257 Document #: 302 Filed: 03/25/21 Page 1 of 2 PageID #:7180




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SECOND AMENDMENT ARMS,                       )
R. JOSEPH FRANZESE, individually             )
and d/b/a SECOND AMENDMENT                   )
ARMS, and TONY KOLE,                         )
                                             )
                      Plaintiffs,            )
                                             )
               v.                            )       Case No. 10 C 4257
                                             )
CITY OF CHICAGO,                             )       Judge Robert M. Dow, Jr.
LORI LIGHTFOOT,                              )
EDDIE JOHNSON,                               )
and ANNA VALENCIA,                           )
                                             )
                      Defendants.            )


                         DEFENDANTS’ NOTICE OF AUTHORITY

       Defendants, acting through their counsel, Celia Meza, Acting Corporation Counsel of the

City of Chicago, hereby notify the Court of the United States Supreme Court’s decision in

Uzuegbunam v. Preczewski, No. 19-968, 592 U. S. ____, 141 S. Ct. 792 (2021), issued on March

8, 2021, and available at https://www.supremecourt.gov/opinions/20pdf/19-968_8nj9.pdf. In

Uzuegbunam, the Court held that “a request for nominal damages satisfies the redressability

element of standing where a plaintiff’s claim is based on a completed violation of a legal right,”

and that standing may therefore exist in such a case where nominal damages is the “only”

remedy sought. Slip. Op. at 3, 11. This holding effectively forecloses Defendants’ argument,

made in their Supplemental Briefing in Support of Their Motion for Summary Judgment

Pursuant to the Court’s March 10, 2020 Memorandum Opinion and Order, that Plaintiffs’

challenge to the City’s prior ban on gun stores is moot because the only possible relief available

at this point is nominal damages. See Dkt. No 291, at 4-6. However, Uzuegbunam did not
   Case: 1:10-cv-04257 Document #: 302 Filed: 03/25/21 Page 2 of 2 PageID #:7181




address, and therefore does not impact, Defendants’ alternative arguments for why nominal

damages do not save Plaintiffs’ claim from mootness – namely, that Plaintiffs have waived any

request for nominal damages, and that prudential concerns weigh against allowing Plaintiffs to

assert a claim for nominal damages at this stage of the case. See id. at 2-3, 6-8. Indeed, unlike

Plaintiffs here, the Uzuegbunam plaintiffs explicitly requested nominal damages in both their

original and amended complaint. Uzuegbunam v. Preczewski, 16-cv-04658-ELR, First Amended

Verified Complaint, Dkt. 13 at 79 (N.D. GA. Feb. 15, 2017); Uzuegbunam v. Preczewski, 16-cv-

04658-ELR, Verified Complaint, Dkt. 1 at 74 (N.D. GA. Dec. 19, 2016). Thus, the waiver and

prudential issues Defendants raise here were not before the Court in Uzuegbunam.



Date:   March 25, 2021                       Respectfully submitted,


                                             CELIA MEZA
                                             Acting Corporation Counsel of the City of Chicago

                                             By:     _/s/ Peter H. Cavanaugh_____
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